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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,
Plaintiff,

Vv. Civil Action No. 99-2496 (PLF)

PHILIP MORRIS USA, INC., et al.,

Defendants.

 

ORDER #128 —- REMAND

On July 15, 2022, the parties filed a joint motion requesting that the Court enter a
consent order to govern the corrective-statements remedy at the point of sale. See Joint Motion
to Enter Fourth Superseding Consent Order Implementing the Corrective-Statements Remedy at
Point of Sale (“Joint Motion”) [Dkt. No. 6507].! On December 2, 2022, after incorporating
revisions based on several questions raised by the Court, the parties filed a revised proposed
consent order to be entered by the Court. See (Proposed) Order # __ -Remand, Fourth
Superseding Consent Order Implementing the Corrective-Statements Remedy at Point of Sale
(“Revised Proposed Consent Order’’) [Dkt. No. 6520]. The Court has carefully considered the

Joint Motion and the Revised Proposed Consent Order and will enter the Revised Proposed

 

; The parties are the United States and the Public Health Intervenors (collectively,

“plaintiffs”); Philip Morris USA Inc., Altria Group, Inc., and R.J. Reynolds Tobacco Company
(individually, as successor in interest to Brown & Williamson Tobacco Corporation, and as
successor to Lorillard Tobacco Company) (collectively, “defendants”); and ITG Brands, LLC,
Commonwealth Brands, Inc., and Commonwealth-Altadis, Inc. (collectively, the “remedies

parties”). Defendants and the Remedies Parties are collectively referred to as the
“manufacturers.”
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Consent Order this same day. Accordingly, it is hereby

ORDERED that the parties’ Joint Motion to Enter Fourth Superseding Consent
Order Implementing the Corrective-Statements Remedy at Point of Sale [Dkt. No. 6507] is
GRANTED; and it is

FURTHER ORDERED that the Fourth Superseding Consent Order Implementing
the Corrective-Statements Remedy at Point of Sale [Dkt. No. 6520] shall be ENTERED.

An opinion explaining the Court’s reasons for concluding, after notice and
hearing, that the Fourth Superseding Consent Order Implementing the Corrective-Statements

Remedy at Point of Sale [Dkt. No. 6520] should be entered will follow in due course.

PAUL L. FRIEDMAN
United States District Judge

SO ORDERED.

DATE: )\| b\ 2>
